            Case 2:21-cv-00230-TOR                  ECF No. 20           filed 05/24/22    PageID.245 Page 1 of 1
AO 450 (Rev. 11/11) Judgment in a Civil Action


                                         UNITED STATES DISTRICT COURT
                                                                  for thH_
                                                     Eastern District of Washington

               AMERICAN GENERAL LIFE
                INSURANCE COMPANY,                                   )
                             Plaintiff                               )
                                v.                                   )        Civil Action No. 2:21-CV-0230-TOR
                                                                     )
 DAVID L. PETTIS, and ESTATE OF PEGGY PETTIS,                        )
     by and through its Personal Representative,
                            Defendant

                                             JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

u the plaintiff (name)                                                                                        recover from the
defendant (name)                                                                                                 the amount of
                                                                            dollars ($              ), which includes prejudgment
interest at the rate of                   %, plus post judgment interest at the rate of            % per annum, along with costs.

u the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                 recover costs from the plaintiff (name)
                                          .

✔ other: The Clerk of Court shall remit the funds on deposit, including interest (less any fees as set by the Director of the
u
              Administrative Office and authorized by the Judicial Conference of the United States, 28 U.S.C. § 1914) to the Probate
              Estate of Peggy J. Pettis in care of: Stamper Rubens, P.S. Trust Account, 720 West Boone, Suite 200, Spokane, WA
              99201.


This action was (check one):
u tried by a jury with Judge                                                                         presiding, and the jury has
rendered a verdict.

u tried by Judge                                                                          without a jury and the above decision
was reached.

✔
u decided by Judge              THOMAS O. RICE.




Date: May 24, 2022                                                           CLERK OF COURT

                                                                             SEAN F. McAVOY

                                                                                V%)RUWHQEHUU\
                                                                                           %\ Deputy Clerk

                                                                                 %)RUWHQEHUU\
